Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 1 of 9 PageID: 142




             PortIN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY


ZEO HEALTH LTD., MICAH PORTNEY,            Case No. 2:21-cv-11410 (ES)(MF)
TOUCHSTONE LIFE ESSENTIALS, INC.,
and NORWOOD E. STONE,

                        Plaintiffs,

      -against-                            Return Date: September 7, 2021

ZOI GLOBAL, LLC, LORI R. LEE, DENISE
STEPHENS, METRON
NUTRACEUTICALS, LLC, and,
NIKOLAOS TSIRIKOS-KARAPANOS,
                        Defendants.




              BRIEF IN SUPPORT OF MOTION TO DISMISS
                     BY DEFENDANT LORI R. LEE




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Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 2 of 9 PageID: 143




                                               TABLE OF CONTENTS

PRELIMINARY STATEMENT ........................................................................................... 1

STATEMENT OF FACTS ...................................................................................................... 2
          A. The Parties………………………………………….………………………………….2

          B. Allegations Concerning Ms. Lee………………………………………………………2

          C. Allegations Related To False Advertising and Defamation………….………3

ARGUMENT ............................................................................................................................. .4

   I.     STANDARD UNDER RULE 12(b)(6)......................................................................... 4

   II. MS. LEE DID NOT VIOLATE THE LANHAM ACT OR NEW
       JERSEY COMMON LAW OR STATUTORY LAW OF UNFAIR
       COMPETITION .............................................................................................................. 4

   III. MS. LEE DID NOT DEFAME PLAINTIFFS OR ENGAGE IN
        PRODUCT DISPARAGEMENT .................................................................................. 5

CONCLUSION .......................................................................................................................... 6




                                                                    i
Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 3 of 9 PageID: 144




                                             TABLE OF AUTHORITIES

Cases

Albion Eng'g Co v. Hartford Fire Ins. Co., 779 F App’x 85 (3d Cir. 2019) .................................. 6

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ........................................................................................... 4

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ....................................................................... 4, 5

Group SEB USA, Inc. v. Euro-Pro Operating, LLC, 774 F.3d 192 (3d Cir. 2014) ........................ 5

Malleus v. George, 641 F. 3d 560 (3d Cir. 2011) ........................................................................... 4

NY Machinery Inc. v. Korean Cleaners Monthly, Civ. No. 17-12269, 2018 U.S. Dist.
 LEXIS 92031, 2018 WL 2455926 (D.N.J. May 31, 2018) .......................................................... 5

Ragner Tech. Corp. v. Telebrands Corp., Civ. No. 15-8185 (ES) (MAH), 2019 US Dist.
 LEXIS 57245 (D.N.J. Apr. 3, 2019) ............................................................................................ 5

Zinn v. Seruga, Civ. No. 05-cv-3572 (WGB), 2006 US Dist LEXIS 51773
  (D.N.J. July 28, 2006) .............................................................................................................. 5, 6
Statutes

15 U.S.C. § 1125(a)(1)(B) .............................................................................................................. 5
Rules

Fed. Rule Civ. P. 12(b)(6) ........................................................................................................... 1, 4




                                                                     ii
Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 4 of 9 PageID: 145




      Defendant Lori R. Lee (“Lee”) hereby moves under Federal Rule of Civil

Procedure 12(b)(6) to dismiss the Amended Complaint filed in this action on June

18, 2021 (the “Complaint” or “Compl.,” ECF No. 5) of Plaintiffs ZEO Health Ltd.

(“ZEO”), Micah Portney, Touchstone Life Essentials, Inc. (“Touchstone”), and

Norwood E. Stone (collectively, “Plaintiffs”), a copy of which is attached to the

Declaration of Paul S. Danner, dated August 6, 2021 (“Danner Decl.”) as Exhibit A1.

                          PRELIMINARY STATEMENT

      The naming of Ms. Lee in this action is baffling considering the utter lack of

allegations against her in the Complaint. In fact, while recognizing that it is

significant relief, simultaneous to the filing of this motion, Ms. Lee has advised

Plaintiffs of her intention to seek Rule 11 sanctions on the expiration of the 21-day

safe harbor period for withdrawal of the pleading. In the event the action is not

voluntarily withdrawn, the claims against Ms. Lee should be dismissed with

prejudice.

      The Complaint alleges a series of purportedly false and misleading

statements made by defendants ZOI and Metron against their competitors,

plaintiffs ZEO and Touchstone. Remarkably, Plaintiffs identify no alleged

statements (false or otherwise) made by Ms. Lee. It appears Plaintiffs named Ms.

Lee simply because of her association with ZOI as an affiliated distributor.2 The



1All references to “Exhibit ___” hereinafter shall be to the exhibits attached to the
Danner Decl. unless otherwise identified.
2According to the Complaint, Ms. Lee is the only party resident in New Jersey. See
Exhibit A.

                                           1
Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 5 of 9 PageID: 146




first element of the claims for false advertising and defamation is the publication of

an advertisement or statement. Yet, Plaintiffs inexplicably make no such

allegation(s) against Ms. Lee. In short, the claims against her completely lack merit

and must be dismissed.

                             STATEMENT OF FACTS

      A.     The Parties

      Plaintiff ZEO is a New York corporation that manufactures and sells zeolite

supplements, and plaintiff Micah Portney is its president and founder. Compl.

¶¶ 2–4. Plaintiff Touchstone is a North Carolina company that sells nutritional

supplements, and plaintiff Norwood Stone is its founder and CEO. Id. ¶¶ 5–7.

      Defendant ZOI is a New Mexico company that competes with ZEO and

Touchstone in the zeolite supplement market, and defendant Denise Stephens is its

co-founder and CEO. Id. ¶¶ 8, 10. Defendant Metron Nutraceuticals, LLC

(“Metron”) is an Ohio company that manufactures zeolite products for ZOI, and

Defendant Dr. Nikolaos Tsirikos-Karapanos is its owner, founder, president and

managing member. Id. ¶¶ 11–12.

      B.     Allegations Concerning Ms. Lee

      Plaintiffs allege that Ms. Lee is a “health educator” and an “affiliate and

advisor” to ZOI. Id. ¶¶ 9, 18, 30. She is also the “founder and executive director” of

The Wellness Center of Northwest Jersey. Id. ¶ 19. Plaintiffs further allege that Ms.

Lee “creates content for the ZOI Global website, ZOIglobal.com, is prominently

featured on the website, and creates and hosts webinars posted on the website.” Id.

¶¶ 18, 30. Plaintiffs allege that “[a]ll of the website’s pages, including the homepage,

                                           2
Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 6 of 9 PageID: 147




feature a link in the upper lefthand corner stating: ‘WELCOME FROM: LORI R.

LEE, MA, RDN, CPT, CLT FUNCTIONAL REGISTERED DIETITIAN

NUTRITIONIST’.” Id. ¶¶ 18, 30 (all caps in Complaint). Plaintiffs also allege that

the contact page of the ZOI website features a photo of Ms. Lee with links to her

contact information. Id. ¶ 19. Plaintiffs allegedly emailed a copy of the Complaint in

this action to Ms. Lee two days after Plaintiffs filed it.

       These are all of the allegations contained in the Complaint concerning Ms.

Lee.

       The allegations regarding Ms. Lee’s prominence on the ZOI website are false,

as evident by the screenshots of the ZOI website attached to the Danner Decl. as

Exhibit B. Ms. Lee’s name only appears on the ZOI website when one follows a link

to ZOI from Ms. Lee’s Wellness Center website or accesses her ZOI distributor

website directly at www.zoiglobal.com/well4life. Id. at Exhibit. C.

       C.    Allegations Related To False Advertising and Defamation

       Plaintiffs allege that the ZOI website features a “Compare Us” section

prepared by Ms. Stephens that contains false claims about ZEO and Touchstone

products. Compl. ¶¶ 38–39, 42–43, 45, 51-52. They further allege that the Compare

Us section contains videos in which Dr. Tsirikos-Karapanos makes false claims

about ZEO and Touchstone products. Id. ¶¶ 40-41, 46–50. Plaintiffs allege that after

they filed the Complaint, Metron and Dr. Tsirikos-Karapanos wrote to the FDA

making false claims about ZEO products, and posted additional videos to the ZOI

website. Id. ¶¶ 55–57.



                                            3
Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 7 of 9 PageID: 148




       Once again, the Complaint contains no allegations linking Ms. Lee to any of

these allegedly false statements, publications, or videos. See Exhibit A.

                                     ARGUMENT

I.     STANDARD UNDER RULE 12(b)(6)

       A complaint will survive dismissal only if its well-pled facts “state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). To satisfy this standard, the Complaint must contain enough “factual

content … to draw the reasonable inference that [D]efendant[s are] liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(citation omitted).

Allegations that raise only the “mere possibility of misconduct,” or tender “naked

assertion[s]” devoid of “further factual enhancement,” fall short. Id. at 678–79

(citations omitted). A complaint that pleads facts “‘merely consistent with’ a

defendant’s liability, [] ‘stops short of the line between possibility and plausibility of

‘entitlement of relief.’” Id.

       Although courts give deference to complaint allegations on a motion to

dismiss pursuant to Fed. Rule Civ. P. 12(b)(6), the Court need not accept legal

conclusions or labels. Malleus v. George, 641 F. 3d 560, 563 (3d Cir. 2011); Iqbal,

556 U.S. at 678 ("[T]he tenet that a court must accept as true all the allegations

contained in a complaint is inapplicable to legal conclusions.").

II.    MS. LEE DID NOT VIOLATE THE LANHAM ACT OR NEW JERSEY
       COMMON LAW OR STATUTORY LAW OF UNFAIR COMPETITION

       To state a claim for false advertising under the Lanham Act, a plaintiff must

allege:


                                            4
Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 8 of 9 PageID: 149




             1) . . . the defendant has made false or misleading statements as to his
             own product [or another’s]; 2) . . . there is actual deception or at least a
             tendency to deceive a substantial portion of the intended audience; 3) .
             . . the deception is material in that it is likely to influence purchasing
             decisions; 4) . . . the advertised goods traveled in interstate commerce;
             and 5) . . . there is a likelihood of injury to the plaintiff in terms of
             declining sales, loss of good will, etc.

15 U.S.C. § 1125(a)(1)(B); Group SEB USA, Inc. v. Euro-Pro Operating, LLC, 774

F.3d 192, 198 (3d Cir. 2014).

       The same factors apply to New Jersey statutory and common-law unfair

competition claims. Ragner Tech. Corp. v. Telebrands Corp., Civ. No. 15-8185 (ES)

(MAH), 2019 US Dist. LEXIS 57245, at *14-15 (D.N.J. Apr. 3, 2019) (applying

Lanham Act analysis to common law and statutory unfair competition claims); NY

Machinery Inc. v. Korean Cleaners Monthly, Civ. No. 17-12269, 2018 U.S. Dist.

LEXIS 92031, 2018 WL 2455926, at *4 (D.N.J. May 31, 2018) (same).

       The Complaint does not allege that Ms. Lee made any statement regarding

Plaintiffs or their products. As described above in the Statement of Facts, Plaintiffs

allege that each of the other Defendants made purportedly false claims about

Plaintiffs and their products. Plaintiffs merely allege Ms. Lee appears on ZOI’s

website, without tying her in any way to the alleged actionable statements. These

allegations do not satisfy the standards of Rule 8 and Twombly. And, they certainly

do not “raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555.

III.   MS. LEE DID NOT DEFAME PLAINTIFFS OR ENGAGE IN
       PRODUCT DISPARAGEMENT

       “The elements of product disparagement are: 1) publication, 2) with malice, 3)

of false allegations concerning the product, business, or property, and 4) special


                                           5
Case 2:21-cv-11410-ES-MF Document 10-1 Filed 08/06/21 Page 9 of 9 PageID: 150




damages.” Zinn v. Seruga, Civ. No. 05-cv-3572 (WGB), 2006 US Dist LEXIS 51773,

at *33-34 (D.N.J. July 28, 2006). The elements of defamation under New Jersey law

are: “(1) assertion of a false and defamatory statement concerning another; (2) the

unprivileged publication of that statement to a third party; and (3) fault amounting

at least to negligence by the publisher.” Albion Eng’g Co v. Hartford Fire Ins. Co.,

779 F App’x 85, 88 (3d Cir. 2019).

      Plaintiffs simply do not allege that there was any publication or making of a

statement about Plaintiffs by Ms. Lee. As with the false advertising and unfair

competition claims, the failure to allege this threshold element of both claims

requires dismissal of the Complaint.

                                     CONCLUSION

      Based on the foregoing, Ms. Lee respectfully requests the claims asserted

against her in the Complaint be dismissed with prejudice.

Dated: Newark, New Jersey
       August 6, 2021

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                                          6
